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17                                 UNITED STATES DISTRICT COURT
18                             NORTHERN DISTRICT OF CALIFORNIA
19                                        OAKLAND DIVISION
20    EPIC GAMES, INC.                               Case No. 4:20-cv-05640-YGR-TSH
21
           Plaintiff, Counter-defendant              APPLE INC.’S ADMINISTRATIVE
22    v.                                             MOTION TO SEAL

23    APPLE INC.,                                    The Honorable Thomas S. Hixson

24         Defendant, Counterclaimant
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     APPLE INC.’S MOTION TO SEAL                                                iii                     CASE NO. 4:20-CV-05640-YGR-TSH
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1           Pursuant to Federal Rule of Civil Procedure 26(c) and Local Rule 79-5, Apple Inc. (“Apple”)

2    respectfully moves the Court to seal portions of the privilege log entries submitted as an exhibit to

3    Apple’s Objections to certain of the Special Masters’ privilege determinations issued on April 3, 2025,

4    regarding Apple’s production of re-reviewed and privileged documents (“Objections”), which was filed

5    under section 4 of the Joint Stipulation and Order Approving Privilege Re-Review Protocol (Dkt. 1092)

6    (the “Protocol”). The exhibit contains information sealable under controlling law and Local Rule 79-5.

7    Specifically, the exhibit contains excerpts from Apple’s privilege log prepared for the Special Masters

8    conducting evaluation of the privilege claims stemming from Apple’s re-review. The privilege log is

9    required to be filed under the terms of the Protocol, but contains personally identifiable information in
10   the form of email addresses of Apple employees. Apple’s proposed redactions of that information are
11   highlighted in yellow in the un-redacted version of the exhibit that Apple is filing under seal and are
12   itemized in the concurrently filed Declaration of Mark A. Perry (the “Perry Declaration”).
13                                                LEGAL STANDARD
14          “The court may, for good cause, issue an order to protect a party or person from annoyance,
15   embarrassment, oppression, or undue burden or expense,” including preventing the disclosure of
16   information. See Fed. R. Civ. P. 26(c). The Court has “broad latitude” “to prevent disclosure of materials
17   for many types of information, including, but not limited to, trade secrets or other confidential research,
18   development, or confidential information.” Phillips v. Gen. Motors Corp., 307 F.3d 1206, 1211 (9th Cir.
19   2002) (emphasis in original); see also Kamakana v. City and Cnty. of Honolulu, 447 F.3d 1172, 1178
20   (9th Cir. 2006) (compelling circumstances exist to seal potential release of trade secrets) (citing Nixon
21   v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978)); PQ Labs, Inc. v. Qi, 2014 WL 4617216, at *1
22   (N.D. Cal. Sept. 15, 2014) (granting multiple motions to seal where publication would lead to the
23   disclosure of trade secrets); Apple Inc. v. Rivos, Inc., 2024 WL 1204115, at *1 (N.D. Cal. Mar. 21, 2024)
24   (granting request to seal “internal product codenames” and noting that a prior request for the same had
25   also been granted). Courts often find good cause exists to seal personally identifiable information. See,
26   e.g., Snapkeys, Ltd. v. Google LLC, 2021 WL1951250, at *3 (N.D. Cal. May 14, 2021) (granting motion
27   to file under seal personally identifiable information, including email addresses and telephone numbers
28   of current and former employees).


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1           Although a party must show compelling circumstances to seal information appended to

2    dispositive motions, the standard for non-dispositive motions is “good cause.” In re Anthem, Inc. Data

3    Breach Litig., 2018 WL 3067783, at *2 (N.D. Cal. Mar. 16, 2018); Rembrandt Diagnostics, LP v.

4    Innovacon, Inc., 2018 WL 1001097, at *1 (S.D. Cal. Feb. 21, 2018); see DNA Genotek Inc. v. Spectrum

5    Sols., L.L.C., 2023 WL 4335734, at *2 (S.D. Cal. May 10, 2023). In general, requests to seal information

6    should be narrowly tailored “to remove from public view only the material that is protected.” Ervine v.

7    Warden, 214 F. Supp. 3d 917, 919 (E.D. Cal. 2016); Vineyard House, LLC v. Constellation Brands U.S.

8    Ops., Inc., 619 F. Supp. 3d 970, 972 n.2 (N.D. Cal. 2021) (Gonzalez Rogers, J.) (granting a motion to

9    seal “because the request is narrowly tailored and only includes confidential information”).
10                                                    DISCUSSION
11          Apple seeks to seal personally identifiable information in the privilege log submitted as an exhibit
12   to Apple’s Objections. See Perry Decl. ¶ 5.
13          Apple’s administrative motion to seal is subject to the “good cause” standard because it concerns
14   non-dispositive objections related to discovery. See, e.g., Kamakana, 447 F.3d at 1179 (“[T]he public
15   has less of a need for access to court records attached only to non-dispositive motions because those
16   documents are often unrelated, or only tangentially related, to the underlying cause of action.”); Lee v.
17   Great Am. Life Ins. Co., 2023 WL 8126850, at *2 (C.D. Cal. Nov. 13, 2023) (“Matters concerning
18   discovery generally are considered nondispositive of the litigation”) (quotation omitted); see also In re
19   Anthem, Inc. Data Breach Litig., 2018 WL 3067783, at *2; Rembrandt Diagnostics, LP, 2018
20   WL1001097, at *1; Al Otro Lado, Inc. v. Wolf, 2020 WL 5422784, at *4 (S.D. Cal. Sept. 10, 2020).
21          Apple easily meets the good cause standard here. Lamartina v. VMware, Inc., 2024 WL 3049450,
22   at *2 (N.D. Cal. June 17, 2024) (good cause to seal internal email communications). Courts in this district
23   have found not only good cause, but compelling reasons exist to seal personally identifiable information.
24   See Snapkeys, 2021 WL 1951250, at *3 (granting motion to file under seal personally identifiable
25   information, including email addresses and telephone numbers of current and former employees); see
26   also UnifySCC v. Cody, 2023 WL 7170265, at *1 (N.D. Cal. Oct. 30, 2023) (finding compelling reasons
27   to seal personally identifying information of employees, including names, addresses, phone numbers,
28   and email addresses). Here, certain entries in the privilege log reveal personally identifiable information.


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1    Good cause exists to protect this information.

2           Moreover, Apple has narrowly tailored its sealing request to include only the information

3    necessary to protect this personally identifiable information. See Perry Decl. ¶ 6; Krommenhock v. Post

4    Foods, LLC, 2020 WL 2322993, at *3 (N.D. Cal. May 11, 2020) (granting motion to seal “limited”

5    information); see also Phillips, 307 F.3d at 1211; Williams v. Apple Inc., 2021 WL 2476916, at *2–*3

6    (N.D. Cal. June 17, 2021) (noting Apple’s narrowed sealing requests with “tailored redactions”); Dkt.

7    No. 643 at 3 (finding Apple’s proposed redactions appropriate for an exhibit when redactions were

8    “narrowly tailored” to “sensitive and confidential information”). Apple has only partially redacted

9    limited information within the privilege log entries. See Perry Decl. ¶ 6.
10          For the foregoing reasons, there is good cause that warrants partially sealing the exhibit to
11   Apple’s Objections.
12                                                    CONCLUSION
13          Apple respectfully requests that the Court seal the information identified in the accompanying
14   declaration.
15

16

17   Dated: April 9, 2025                                    Respectfully submitted,
18                                                           By: /s/ Mark A. Perry
                                                                     Mark A. Perry
19

20                                                           WEIL, GOTSHAL & MANGES LLP

21                                                           Attorney for Apple Inc.
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